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Desiree S. Maun
1408 Banbury Road
Kalamazoo, MI 49001

October 10, 2015

Your Honor:

My name is Desiree Maun and I am writing on behalf of William Hugh Wilson III, who will be appearing
before your court on October 18, 2017 for sentencing.

I have known William for about 3 and a half years. I am aware of the charges in which he has been
accused of in the past and that of the current case being seen by your court. As a mother and a member of
this community, I recognize that William’s history and current charges may paint an iniquitous image of
William; however, I would like to share what I have experienced with William in hopes that you can see a
different side, the real side of William.

Since William and I got together a little over 3 years ago, we have spent an astronomical amount of time
together and I been able to see how William acts within the community as well as at home. He is a God
fearing man that frequently prays and encourages others to do so as well. When people need him, he
responds instantly. He is not and never has been a violent person and would literally give you the shirt off
of his back. I have seen him shovel the snow, mow grass and even carry groceries for those who are
unable to do so. He is often more concerned about the health and well-being of others more than that of
himself. I am a mother of 4 children and the impact that he has made within our lives cannot minimized.
Their father passed away in 2008 and they have not had any man in their life to look up to. Not only did
William step up to the plate and be present in their lives, he was able to talk to them, tutor them, coach
them and relay his experiences with them and drill into their heads the importance of education, integrity,
God, and applying their skills and knowledge to full fill a career and stay out of the streets. Before
William came into our lives, they were on a fast track to head down the wrong path and he turned them
around. William was able to relate to them in a way that allowed him to reach their hearts and their minds
and change their paths for the better and I cannot thank him enough for being such a blessing in our lives.
When it came to our relationship, he has always been nurturing and caring with myself and my children.
Before William’s current incarceration, he had been working on cars and planned on attending school to
become a certified auto mechanic.

Your Honor, I know that it must be a difficult decision to decide on the fate of a person whom you barely
know and I hope that what I have shared with you resonates with you in a positive way. He may have
made some poor decisions in the past but he was honestly and truly changing his life and made the world
of difference in my 4 children. Had William never came into our lives, I honestly believe that I would be
visiting my sons in prison or sitting by their graves. That’s just how remarkable the impact that he made
in our lives has been. I beg the court to show some leniency when sentencing William; although he may
have made some poor decisions in his past, he has never been violent and was diligently trying to get his
life in order.

Kindest Regards,
Desiree S. Maun
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